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                                              Proposed Legeslative Districts

                                                                                                                                                                                      Tonawanda Reservation




                                                    Grand Island                                                                                             Clarence                 Newstead
                                                                   10 City of Tonawanda                           Amherst
                                                                                                                                                7
                                                                                                             5
                                                                       Tonawanda



                                                                                         1
                                                                                                                                                                         4
                                                                          6                                                                                                             Alden
                                                                                                                                                             Lancaster
                                                                                               3                    Cheektowaga

                                                                                    Buffalo
                                                                                                                              8



                                                                                                                     West Seneca

                                                                                      Lackawanna                          9                                    Elma                  Marilla




                                                                                                                     Orchard Park
                                                                                  Hamburg                                                                     Aurora                   Wales




                                               Evans               Eden                                                Boston                                 Colden                   Holland
                                                                              2
                                                                                                                                                                         11


                                           Brant

                                                                          North Collins
                                                                                                                                                                                  Sardinia
                                   Cattaraugus Reservation
                                                                                                                                        Concord




                                                                                Collins




                                          Proposed Districts
                                                1         4        7      10                Municipalities                                      US Interstates
                                                2         5        8      11                Towns/Viliges and Places                            Major Roads
                                                3         6        9
                                                                                                                                                         0                    5                    10
                                                                                                                                                                             Miles
Map Created by Ryan Cassens. 6 May 2011
